Case 4:18-cV-00383-DCN Document 1-1 Filed 08/29/18 Page 1 of 6

CITY OF AMMON
BONNEVILLE COUNTY, IDAHO

ORDINANCE NO: 598

 

u enl H 15121@9
l.lstel` ingle Count'. Idaho Fai |.s, Ielaho

_. v y
"'“* ??34/2@18 94:12:§8 Pi'l No. of Pages: 4
recorded !or'_ GIT`tl OF AEEQN

 

Fenn¥ l"lannl.ng Fee: .
Ex-tii`fioio Recordar Deputy __________________________
Indlx lo: (}RDINF\N£E

 

 

AN ORDINANCE OF TI~IE CITY OF ANIMON, OF TI[E S'I`ATE OF ]])AHO,
AMENI)ING AND ADOPTING TITLE X, PLANN]NG ANI) ZONING;
CHAPTER 2, A])OPTING NEW DEFINITIONS; CHAPTE.R 4,
AMENDMENTS; CHAPTER 5, SUPPLEMENTAL REGULATIONS;
C}IAPTER 7, SPECIAL PROVISIONS APPLYING TO IVHSCELLANEOUS
USES; CHAPTER 9, BOARD OF ADJUSTMENT; CHAPTER 16, R2-A
RESIDENCE ZONE; CHAPTER 18, RS-A RESIDENCE ZONE; CHAPTER
29, SUBDIVISION REGULATIONS; CHAPTER 31, PROFESSIONAL
BUSINESS OFFICE ZONE; PROV£DING FOR SEVERABILITY;
REPEALING CON“FLICTING ORDINANCES AND PROV]])IN(; AN
EFFECTIVE DATE.

BE IT ORDAlNED BY THE MAYOR AND CITY COUNC[L OF 'l`HE CITY OF AMMON,
I`DAHO THAT:

Soction 1. Chapter 2, I)etinitions

Title X, Chapter 2 of the City Code of Ammon, the following definitions shall be added to read as
foilows:

Mortuaries, Funeral P§rlm-sl Crematorg: An establishment where the dead are prepared for burial or cremated,
where the body may be viewed, and where funeral services are sometimes he}d.

Foster Farg§ly Care Homes: For the purpose of the Arnrnon City Code Foster Farnily Care Homas shall
be defined as a location within the City where a minor or minors have been placed in a ward. group
hcme, private home or any other facility approved as an idaho Siate-certiiied foster caregiver. ”l“his tenn
shall not be construed to limit or restrict people within residential zones from serving as foster parents in
their own home or residence

Singie Famiiy Groug Homes: For the purpose of the Arnmon City Code a Group l-lome in any single
farnin residential zone shall be allowed pursuant to the requirement of the idaho Stata Coda 67-6531.
Any group home operated within the City of Arnmon shall comply with all the requirements and conditions
of the idaho State Code.

Seetion 2. Chapter 4, Ameudments

Title X, Chapter 4, Section 1 of the City Code ofAmmon, shall be amended to read as follows:
ORDlNANCE AND MAP MAY BE AMENDED: This zoning ordinance, including the map, may be amended,
supplemented changed or modified from time to time, but ali proposed amendments shall be submitted
first to the Planning Comrnission for its recommsndationsl which recommendations shall be submitted to
the City Council for its consideration

The official zoning map of the Clty shall be amended after any re-zone, annexation or other change to this
title that may affect the omcial zoning map. lt shall be the policy of the Clty to display and have available
the most up to date zoning map as possiblel Any change to the official zoning map shall be considered
adopted after any ordinance effecting this Title as it relates to the official zoning map of the City has bean
published

Tltlc X, Chapter 4, Section 4 ol' the City Code of Ammon, shall be amended to read as foilows:

PUBL|C HEAR!NG REQU|RED ElY Ci“FY COUNClL-NOTlCE: Amendments to the ordinances of
this title, the zoning map, the long range plan or long range planning map may be adopted only
alter a public hearing has been held in relation thereto by the City P|anning and Zoning
Commission with recommendations made by the Commlssion to the City Councl|. Notice of the
time and place of such hearing shall be published in the official newspaper of the city as provided

Ordlnance #598 Page 1 of 5

Case 4:1`8¢@\/-00383-0<:|\| Documem 1-1 l=iled 03/29/13 Page 2 or 6

in Secticn 67-6509 of the idaho Code and in addition thereto in the case of a zoning district
boundary change or annexation additional notice shall be provided by mail to property owners or
purchasers of record vvit__h_in the land being considered and within 500 feet of the external
boundaries of the tend being considered The City Councii as the governing board may in its
discretion conduct at least one (t) public hearing in addition to the public hearing conducted by
the Commission under the same notice and hearing procedures as herein provided The
governing board may act upon the recommendation of the P|anning and Zoning Commission or
as it determines, order an additional hearing and may then act using evidence provided by the
Cornrnissicn and information provided at a City Counci| hearingl As the governing board they
may adopt, reject, repeal or amend the proposed zoning or map ordinance amendments

Section 3. Cilapter 5, Supplemental Regulations to Zooes

'I`ttle X, Chapter 5, Section 23, Subsection l, ol’ the City Code of Ammon shall be amended to read as
follows:

Size of Parking Spaces.

No off-etreet parking space shall have dimensions of less than nine (9) feet in width and eighteen
(18) feetl in |ength, The size of a required parking space shall be determined by City poiicy 50-003
as standards adopted by the City of Ammon. No part of the area cfa required parking space shat|
be used for drivi=,\wa§,rsl aisles or other required improvements Stalls under the minimum size shail
not be included in the caiculation for

Title X, Cha[)ter 5, Section 26 of the City Code of Ammoo shall be amended to read as fullows:

Zoning Use stle: iJses are shown by zone as aliowed, not allowed (NA) orailowed (A) by conditional
use permit (CUP) or master ptan approval (MP].

Section 4. Chapter 7, Specisl Provisions Applying to Misceltsneous Uses
Title X, Chapter 7, Sectiori 5 of the City Code of Ammon shall he amended to read as foilows:

CEMETER|ES, MAUSOLEUMS, AND COLUMBAR|A: No cemetery, mausoleurn, or columbarium shall
be established or enlarged until a valid conditional use permit has first been granted by the Board of
Adjustment. The Board of Adjustrnent may require that the appiication for said conditional use permit
include maps. names and addresses etc., foran area within a radius of two thousand (2,000) feet of the
exterior boundaries of the cemetery, and such other information as it deems necessary Said required
information shall include proof of compliance with State law deaiing with development and maintenance of
cemeteries

Title X, Chapter 7, Section 7 of the City Code of Ammon shall be amended to read as follows:

MORTUARlES, CREMATORY AND FUNERAL HOMES. A conditional use permit shall be required for
the establishment or enlargement cia mortuaryl crematory or funeral home as required by Chapter 18 of
this Cocle. |n establishing the requirements for such uses, the Board of Adjustment shall consider, among
other criterla, the following: Whenever possiblel such uses shall be located on a major street

(Ai Such uses should be iocated as to not inhibit or deter proper development of nearby property.

(B) The site should be of ample size to allow for the makeup of funeral processions, as welles to
provide the required oft-street parking and loading facilities and landscaping

{C) The design of vehicuiar access to and from the site should conform to accepted traffic engineering
practices so as to minimize traffic congestion on the adjoining streets

(D) The design of vehicular access to and from the site should conform to accepted traffic engineering
practices so as to minimize traffic congestion on the adjoining streets

Section 5. Chapter 9, Board ol' Adjustment

Titie X, Chapter 9, Sectton B, Subsecu'on (C), Item 9 of the City Code of Ammon shall he amended to
read as foilows:

Authorize a Permit for tl.llortuariesl Crematories and Funera| Homes, For zones where mortuan`es,
cremetories and funeral homes are permitted oniy by conditional permit, the Board of Adjustment may
authorize the Zoning Adminislrator to issue a permit for a mortuary. crematory or funeral home, subject to
conditions set forth in paragraph 10-7-7 of this ordinance

Ordinance #598 Pags 2 of 5

print

Case 4:18-cV-00383-DCN Document 1-1 Filed 08/29/18 Page 3 of 6

'I‘itle X, Chapter 9, Section 3, Subsection (C), Item 10 of the City Code of Ammon shall be amended to
read as follows:

Authorize a Permitfor Cemeteries. Mausoteums, and Columbaria. The Board of Ad;'ustment may
authorize the Zoning Admin|stratorto issue a permit for a cemetery, mattsoleum or columbarium. subject
to conditions set forth in paragraph 10-7-5 of this ordinance

Section 6. Chapter 16, RZ-A Residence che
rate x, chapter 16, section 1 gram city crude or Ammon shall _i;'e"§mend"e`¢i to fines forte-we

GENERAL OBJECT|VES AND CHARACTER|ST|CS Ol”-' ZONET The` objective in establishing the R2-A
Residence Zone is to designate appropriate areas within the City. |n ordento accomplish ibezobjectives and
purposes of this ordinance and to promote the essential characteristics _of this rzone§" the following
regulations shail apply in the R2-A Residence Zone (see also §10~5 Supplem`entary Ftegula'tions to Zones.
§10-7 Specia| Provisions Appiying to Nliscel|aneous Uses. and §10-29 Su_bdivision Regulations).

Titie X, Chapter 16, Seetion 2, Sul)section (`B) of the City Code of Ammon shall be amended to read
as follows:

Assisted Livirrg Centers, Foster famiiy care homes or Convalescent l-lomes for not more than twenty (20)
residents

Title X, Chapter 16, Seetion 5, Sui)section {B) of the City Code of Ammon shall he amended to read
as follows:

Slde Yards. Subject to lO-‘l B-S(A), there shaft be a side yard on each side of a main buiiding of not less
than eight (8) inches for each foot of building heightl except that no side yard shall be less than eight (8)
feet.

Section 7. Chapter ]S, RS-A Residence Zonc

Title X, Chapter 18, Section 2, Subsection (D) of the City Code of Ammon shall he amended to read
as follows:

For properties zoned R3-A prior to January 1, 2018, only with no subsequent change to another zone.'
Mortuaries, crematories and funeral parlors, pursuant to a conditional use permit issued by the Board of
Adjustment.

Tit]e `X, Chapter lS, Section 5, Subsection (B) of the City Code of Ammon shall be amended to read
as foilows:

Side Yards. Subject to 10-18A-5(A}, there shall be a side yard on each side ofa main building of not less
than eight (8) inches for each foot of building height, except that no side yard shall be less than eight (8)
feet

Seetion 8. Chapter 29, Suhdivision Regulations
Title X, Cllapter 29, Secticn 3 of the City Code of Ammon shall he amended to read as follows:

The size of the print to be filed with the City Engineer shall be eighteen (18) inches by twenty-seven (27)
inches and the border line of the piat shali be drawn in heavy lines, leaving a space of at teast one and one-
half (‘l -1!2) inch margin on the left-hand side of the sheet for binding. and not less than a one-haif (1/2) inch
margin in from the outside or trim line around the other three (3) sides or edges of the sheet The plat shall
be so drawn that the top of the sheet eitherfaces north or west, preferany north, whichever accommodates
the drawing best The actual map drawn shall be made on a scale not smaller than one hundred (100)
feet to one ('i) inch and shall clearly show all detaits; and the workmanship on the finished drawing shatl be
neat, clean-cut and readable

Sectioa 9. Chapter 31, Subdiviqiqai%gulala`ons

  
   

`\\*OMMA h,'
Tiile gillespie _ pie 3, subsection (F) urine City code or Ammon shall be amended w read
as follows: §§ “£)"G

Mortuaries, §'enmtories and furiera_"§ parlors
Seetiorl 10. Repeal of E'K$:Proidti§§§§f{ivi§isoa*§`:
All provisions of th;*-Hnte:;h€)dde\;r ordinances of the City oi"Ammon which conflict with the provisions of this
ordinance are hereby repealed to the extent of such conflict.
Section 11. Severability. l

This ordinance is hereby declared to be severable. Should any portion of this ordinance be declared invalid by a
court of competent jurisdiction the remaining provisions shall continue in fail force and effect and shall be read to
carry out the perposc(s) of the ordinance before the declaration of partial invalidity

Clrdinanoe #598 Page 3 of 5

ease 4:18-@\/-00383-0<:|\| Documem 1-1 Filed 03/29/13 Page 4 of 6

Section 12, Effective I]ate.

This ordinance shall be effective upon its passage and pub}ication as provided by law.
Enacted by the City Council as an ordinance of the City of Ammon on the 21“ day of December, 2017. Approved by

the Mayor on the 21‘t day of December, 2017.

mm

\"` 11

`\ ll

“` ?..F`.W.‘f'.O/;/’»
' paup

\
\ _L
` _. 4
35 °’»` . “"`<- ~."'F/

    

ana Kirkham, Mayor

 

STATE OF l'DAHO )
) ss.

County of Bonneville )

I, RACHAEL SANDERS, CITY CLERK OF THE CITY OF AMMON, IDAHO DO
HEREBY CERTIFY; That the above and foregoing is a full, true and correct copy of the
Ordinance entitled,

AN ORDINANCE OF THE CITY OF AM]VION, OF TI-[E STATE OF lDAHO,
AMENDING AND ADOPTING TITLE X, PLANN]NG AND Z()N[NG;
CHAPTER 2, A])OPTING NEW DEFINITIONS; CHAPTER 4,
AMENDMENTS; CHAPTER 5, SUPPLEI\CENTAL REGULATIONS;
CHAPTER 7, SPECIAL PROV{SIONS APPLYING TO MISCELLANEOUS
USES; CHAPTER 9, BOARI) OF ADJUSTMENT; CHAPTER 16, RZ-A
RESII)ENCE ZONE; CHA.PTER 18, R3-A RESIDENCE ZONE; CHAPTER
29, SUBDIV“ISION REGULATIONS; CHAPTER 31, PROFESSIONAL
BUSINESS OFFICE ZONE; PROV`IDING FOR SEVERABILITY;
REPEALING CONFLICTING ORDINANCES AND PROVIDING AN
EFFECTIVE I)A'I`E.

DATED wis 21ST day ofDecember, 2017.

Rach Sanders, ` erk

`\\A`|"l"u
.\QPP~MM@»
.<.. `-*’-`G»'PGR#,§"€'¢L
.‘ t 6'\. _
55 §§ E-F\._L_ :‘_€’

ll;,
l'l'
11
\
n\\"`

’;"."."".%T

., :
5 §
».595§9,»

r, \
g * \
mm l 1 i"\\"`

\\\t||
\\"`
*'r
z
4 akin

C*rdinance #598 Page 4 of 5

Case 4:18-cV-00383-DCN Document 1-1 Filed 08/29/18 Page 5 of 6

Instrument d 1572110
fdaho Falls. Idaho

B v Cour\ty

0!?3:/20‘|3 @4:12:28 P|'I No. o'F Fa§es: 140&},,
Rs.':ordad for: GITV Oi'-' F\m"=oN

F'anny damning Feo: $9.09

Ex-foicin Racurdsr Daputy _______________
[ndax icc QRDENRNGE‘

CITY OF AMMON
BONNEVILLE COUNTY, IDAHO

SUMMARY OF
§"”" ORDINANCE NO: 598

AN ORDINANCE OF 'I`HE CI'I`Y OF AMMON, OF THE STATE OF
IDAHO, AM'END]NG AND ADOPTING TITLE X, PLANNING A.ND
ZONING; CHAPTER 2, ADOPTlNG NEW DEFINI'I`IONS; CHAPTER 4,
AMENDMENTS; CHAP’I`ER 5, SUPPLEMENTAL REGULATIONS;
CHAPTER 7, SPECIAL PROVISIONS APPLYING TO MISCELLANEOUS
USES; CHAPTER 9, BOARD OF ADJUSTMENT; CHAPTER 16, R2-A
RESI])ENCE Z()NE; CHAP'I`ER 18, RS-A RESIDENCE ZONE; CHAPTER
29, SUBD[VISION REGULATIONS; CHAPTER 31, PROFESSIONAL
BUSINESS OFFICE ZONE; PROV]DING FOR SEVERABILITY;
REPEALING CONFLICTING ORDINANCES AND PROVII)ING AN
EFFECTIVE DA'I`E.

The fhl[ text of this ordinance is available at the City Cierk’s Offlce, Ammon City Of'fzce, 2135 S Ammon Road, '
Ammon, Idaho.

A ' ;:E'I‘Y OF AMMO
ande i£y icrk Dana Kirkham, Mayor

Ihavc reviewed the foregoing summary and bekieve that it provides a tme and complete summary of
Ordinancc #598 and that the summary provides adequate notice to The pubiic ofthe contents of this ordinance

 

DA'I`ED this 21“ day of Dccember, 20§7. ry
/C

/_,Sc’ott HaH, fifty A`ttomey

rr

 

Oldinanoe #598 Page 5 of5

 

Cas"e 21`£`13`-<:\/-00333-0<;|\| Documem 1-1 Filed 03/29/13 `Page 6 of 6

